                                                                              Case 2:18-cv-00828-JCM-CWH Document 1 Filed 05/09/18 Page 1 of 3


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                                                                          7

                                                                          8   Attorneys for Defendant Laylow
                                                                              Films, Inc.
                                                                          9
                                                                                                         UNITED STATES DISTRICT COURT
                                                                         10                                   DISTRICT OF NEVADA
                                                                         11
KENNEDY & COUVILLIER, PLLC




                                                                         12   GENERAL CROOK,
                             Ph. (702) 605-3440 ♠ FAX: (702) 625-6367




                                                                                                                                  Case No.
                              3271 E. Twain Ave. ♠ Las Vegas, NV 89120




                                                                         13                         Plaintiff,
                                                                                                                                  NOTICE OF REMOVAL
                                                                         14          v.                                           PURSUANT TO 28 U.S.C. § 1441 (a)
                                          www.kclawnv.com




                                                                         15
                                                                              WALT DISNEY COMPANY; HEARST
                                                                         16   COMMUNICATIONS, INC.; LAYLOW
                                                                              FILMS, INC.; HOULIHAN FILM MUSIC
                                                                         17   INC.; BURGESS L. GARDNER d/b/a
                                                                              MERYE-EARL MUSIC; and JOHN DOE
                                                                         18
                                                                              AND MARY ROE,
                                                                         19
                                                                                                    Defendants.
                                                                         20

                                                                         21   TO: THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA:
                                                                         22
                                                                              TO: General Crook, Plaintiff pro se:
                                                                         23
                                                                                            1.      Laylow Films, Inc. (“LFI”) is one of the defendants in the civil action
                                                                         24
                                                                              Crook v. Walt Disney Co. et. al., No. A-18-772523-C, brought by Plaintiff General Crook
                                                                         25

                                                                         26   (“Crook”) on April 10, 2018 in the Eighth Judicial District Court, Clark County, Nevada (the

                                                                         27   “Litigation”). Pursuant to 28 U.S.C. §§ 1441 and 1446, LFI hereby removes this action to the

                                                                         28
                                                                                                                        Page 1 of 3
                                                                              Case 2:18-cv-00828-JCM-CWH Document 1 Filed 05/09/18 Page 2 of 3


                                                                          1   United States District Court for the District of Nevada, the judicial district in which the

                                                                          2   underlying Litigation is pending.
                                                                          3
                                                                                             2.      LFI removes the Litigation on the ground that Crook has alleged, inter
                                                                          4
                                                                              alia, violations of the Lanham Act, 15 U.S.C. §§ 1114 and 1125, and the Copyright Act, 17
                                                                          5
                                                                              U.S.C. § 501. Accordingly, removal is proper under 28 U.S.C. § 1441(a) because, if this action
                                                                          6
                                                                              had been filed in federal court, this Court would have (i) original subject matter jurisdiction over
                                                                          7

                                                                          8   Crook’s federal trademark and copyright infringement claims pursuant to 28 U.S.C. § 1331

                                                                          9   (federal question); and (ii) supplemental jurisdiction over Crook’s related Nevada state-law
                                                                         10   claims pursuant to 28 U.S.C. § 1367(a).
                                                                         11
                                                                                             3.      This notice is timely under 28 U.S.C. § 1446 (b)(1) as it was filed within
KENNEDY & COUVILLIER, PLLC




                                                                         12
                                                                              thirty days after April 17, 2018, the date on which LFI received a copy of the complaint filed in
                             Ph. (702) 605-3440 ♠ FAX: (702) 625-6367
                              3271 E. Twain Ave. ♠ Las Vegas, NV 89120




                                                                         13
                                                                              the Litigation from co-defendant ESPN, Inc. As of the filing of this notice, to LFI’s knowledge
                                                                         14
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                                                                         15   neither LFI nor any other defendant in the Litigation has been properly served. LFI reserves all

                                                                         16   rights and defenses, including without limitation defenses as to the lack of service of process

                                                                         17   and/or insufficiency of service of process.
                                                                         18                  4.      To LFI’s knowledge, the only pleadings filed in the underlying Litigation
                                                                         19
                                                                              to date is Crook’s complaint, which is attached hereto as Exhibit A.
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                                                                              Case 2:18-cv-00828-JCM-CWH Document 1 Filed 05/09/18 Page 3 of 3


                                                                          1                  5.       Defendant is providing Plaintiff written notice of the filing of this Notice

                                                                          2   of Removal as required by 28 U.S.C. § 1446(d). Further, Defendant is filing a copy of this
                                                                          3
                                                                              Notice of Removal with the Clerk of the District Court, Clark County, Nevada, where the action
                                                                          4
                                                                              is currently pending.
                                                                          5
                                                                                     Dated May 9, 2018.
                                                                          6
                                                                                                                     Respectfully,
                                                                          7
                                                                                                                     KENNEDY & COUVILLIER
                                                                          8
                                                                                                                     /s/ Todd E. Kennedy
                                                                          9                                          _________________________________
                                                                                                                     Todd E. Kennedy, Bar. No. 6014
                                                                         10                                          Maximiliano D. Couvillier III, Esq.
                                                                                                                     Nevada Bar No. 7661
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                                          www.kclawnv.com




                                                                         15
                                                                                                                     Attorneys for Defendant Laylow Films, Inc.
                                                                         16

                                                                         17                                     CERTIFICATE OF SERVICE

                                                                         18          I certify that on May 9, 2018, I caused to be served the foregoing Notice of Removal on

                                                                         19   Plaintiff General Crook by placing the same in the United States Mail addressed to:
                                                                         20                                          General Crook
                                                                         21                                          4319 Bucking Bronco Road
                                                                                                                     North Las Vegas, Nevada 89032
                                                                         22

                                                                         23                                          /s/ Todd E. Kennedy
                                                                                                                     ________________________________
                                                                         24                                          An employee of Kennedy & Couvillier
                                                                         25

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